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               9   Attorneys for United States of America

          10                                       UNITED STATES DISTRICT COURT

          11                                      NORTHERN DISTRICT OF CALIFORNIA

          12                                              OAKLAND DIVISION

          13        UNITED STATES OF AMERICA,                      ) No. CR 19-0076 HSG
                                                                   )
          14                Plaintiff,                             ) STIPULATION AND ORDER DISMISSING
                                                                   ) COUNTS TWO THROUGH NINE
          15                       v.                              )
                                                                   )
          16        RODNEY TICANIS SPARROW,                        )
                                                                   )
          17                Defendant.                             )
                                                                   )
          18                                                       )

          19

          20

          21               Plaintiff United States of America and defendant Rodney Ticanis Sparrow, through counsel,

          22       hereby stipulate as follows:

          23               1.     Pursuant to the parties’ plea agreement, defendant pled guilty to Count One of the

          24       Indictment and was sentenced in connection with his conviction on Count One on December 16,

          25       2020.

          26               2.     Pursuant to the parties’ plea agreement, the government hereby moves to dismiss

          27       counts Two through Ten of the Indictment.

          28               3.     Defense counsel has no objection to the requested dismissal, and stipulates that the

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                                   XXXXXXXXXX ORDER
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               1   Court should dismiss Counts Two through Ten of the Indictment.

               2

               3   IT IS SO STIPULATED.

               4

               5
                   Dated: December 17, 2020                                DAVID L. ANDERSON
               6                                                           United States Attorney
               7

               8
                                                                                  /s/ Thomas R. Green
               9                                                           THOMAS R. GREEN
                                                                           Assistant United States Attorney
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          12       Dated: December 17, 2020                                       /s/ John Paul Reichmuth
                                                                           JOHN PAUL REICHMUTH
          13                                                               Attorney for Defendant Rodney Sparrow

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               1                                                ORDER

               2          Based on the reasons provided in the stipulation of the parties, the Court orders that Counts

               3   Two through Ten of the Indictment are hereby dismissed.

               4
                          IT IS SO ORDERED.
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               7   DATED: 12/18/2020
                                                                THE HONORABLE HAYWOOD S. GILLIAM, Jr.
               8                                                United States District Judge

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Gibson, Dunn &
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Crutcher LLP
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